Case 2:04-cv-02646-.]DB-dkv Document 47 Filed 08/31/05 Page 1 of 2 Page|D 53

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IN THE UNITED STATES DISTRICT COURT 05 AUG 3
FOR THE WESTERN DISTRICT OF TENNESSEE l PH 3" 59
WESTERN DIVISION THO,M y GOULD
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RICHARD E. SHERMAN and
RICHARD A. MATTA, JR.,

Plaintiffs,
v_ No. 04-2646*B/V

TESCO EQUIPMENT, LLC and
TESCO HI-LIFT, INC.,

Defendants.

 

ORDER OF REFERENCE

 

Before the court is Plaintiff’s Application for Judgment by Default filed on August 31,
2005. This matter is hereby referred to the United States Magistrate Judge for a hearing on
damages and for a report and recommendation in order to enable this court to enter a default
judgment §§ Rule 55(b)(2), Federal Rules of Civil Procedure. Any objections to the
magistrate judge’s report and recommendation shall be made Within ten (10) days after Service
of the report, setting forth particularly those portions of the report objected to and the reasons
for the objections Failure to timely assign as error a defect in the magistrate judge’s report Will
constitute a waiver of that objection. g Rule 72(a), Federal Rules of Civil Procedure.

Tt‘
IT IS SO ORDERED this 31 day of August, 2005 .

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J. DANIEL BREEN `
1 D sTATEs DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 47 in
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Honorable J. Breen
US DISTRICT COURT

